      Case:08-01053-SDB Doc#:3 Filed:10/22/08 Entered:10/22/08 11:11:39                                       Page:1 of 1
                            UNITED STATES BANKRUPTCY COURT
                                               Southern District of Georgia

In the matter of:

Dale A. Crocker and Deborah D. Crocker
Chapter 13 Case No. 04−14200−SDB
       Debtor(s)



Deborah Crocker
       Plaintiff(s)
vs.                                                            Adversary Proceeding
                                                               No. 08−01053−SDB
NCO Financial Systems, Inc.
Asset Management Professionals, LLC
       Defendant(s)



Zane P. Leiden
Leiden & Leiden
330 Telfair St
Augusta GA 30901

                                      NOTICE OF DEFECTIVE COMPLAINT OR PLEADING

Additional action is required on the captioned Complaint/Responsive Pleading which you have filed:

                   The $250.00 filing fee has not been received. Your check should be made payable to Clerk, U. S. Bankruptcy
                   Court.

                   The caption does not comply with Bankruptcy Rule 7010.

                   The B−104 Adversary Proceeding Cover Sheet has not been submitted. Form enclosed.

                   Original signature required on all pleadings.

                   The underlying case has been closed. If you wish to pursue your complaint, please comply with Bankruptcy
                   Rule 5010 by filing a Motion to Reopen and pay the applicable fee to reopen a case.

                   Your Responsive Pleading has been filed in the above−styled case. Under the law, individuals may file
                   pleadings, appear in court and represent themselves, but corporations and partnerships are prohibited. For your
                   further information, attorneys not admitted to practice in the Southern District of Georgia must comply with local
                   rules to be admitted pro hac vice.



                   Complaint and Cover Sheet don't agree as to name of First Defendant


Failure to comply with this notice, on or before 11/6/2008 , will subject your complaint to dismissal by the court.

                                                                       Samuel L. Kay, CLERK
                                                                       United States Bankruptcy Court
                                                                       PO Box 1487
                                                                       Augusta, GA 30903


Dated October 22, 2008

A−02[Rev. 06/08] BJ
